     Case 4:23-cv-03560         Document 175           Filed on 10/08/24 in TXSD   Page 1 of 9




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

FEDERAL TRADE COMMISSION,                          §
    Plaintiff,                                     §
                                                   §             Cause No.: 4:23-CV-03560-KH
v.                                                 §
                                                   §
U.S. ANESTHESIA PARTNERS, INC.,                    §
ET. AL.,                                           §
      Defendants.                                  §

           HORIZON MEDICAL CENTER’S MOTION TO QUASH DEFENDANT,
     U.S. ANESTHESIA PARTNERS, INC.’S SUBPOENA TO PRODUCE DOCUMENTS,
      INFORMATION, OR OBJECTS TO PERMIT INSPECTION OF PREMISES IN A
              CIVIL ACTION, AND MOTION FOR PROTECTIVE ORDER

        Non-Party Horizon Medical Center (“Horizon”) by and through its undersigned counsel,

respectfully files its Motion to Quash the Subpoena improperly served upon it in the above-

referenced matter by counsel for Defendant U.S. Anesthesia Partners, Inc. (“USAP”) on Friday

October 4, 2024 (the “USAP Subpoena”), and would respectfully show as follows:

                                              I.       SUMMARY

        1.      Plaintiff, Federal Trade Commission filed suit against Defendants, U.S. Anesthesia

Partners, Inc. et. al. (“USAP”). USAP issued a Subpoena to Produce Documents, Information, or

Objects to Permit Inspection of Premises in a Civil Action (hereinafter referred to as “USAP

Subpoena”) which was not properly served on Horizon, and which includes an unreasonable

amount of time to comply and a number of overbroad requests, several of which seek confidential

credentialing files which are privileged under the medical-committee privileges, and no subject to

subpoena. Horizon timely files this motion to quash and motion for protective order before the

date of requested compliance.




Horizon’s Motion to Quash and Motion for Protection                                     Page 1 of 9
   Case 4:23-cv-03560           Document 175          Filed on 10/08/24 in TXSD    Page 2 of 9




        2.      Horizon respectfully asks the court to quash the subpoena because of the following

reasons:

             a. The subpoena was not properly served on Horizon’s registered agent for Horizon
                Medical Center of Denton.

             b. The subpoena does not allow a reasonable time for compliance.

             c. The subpoena requires disclosure of privileged or protected material, and no
                exception or waiver applies.

             d. The subpoena subject a nonparty to an undue burden.

                                                II.    FACTS

        3.    On September 9, 2024, USAP issued thew USAP Subpoena to for “Horizon Medical

Center c/o Kim Uskovich to produce a list of materials and documents.” See attached, Exhibit A

– USAP’s Subpoena to Produce Documents, Information, or Objects to Permit Inspection of

Premises in a Civil Action (hereinafter referred to as “USAP Subpoena”). The USAP Subpoena

requires that USAP produce responsive documents on or before October 9, 2024. It further seeks

22 categories of documents, many of which date back to 2010, and some of which seek confidential

credentialing files which are privileged under the medical-committee privileges, and no subject to

subpoena.

        4.      The USAP Subpoena was not properly served. Instead, it was hand delivered to

the registered agent for another facility Horizon Medical Center of McKinney, which is not yet

open. Horizon was not made aware of this subpoena until October 4, 2024, when a registered

agent for Horizon Medical Center of McKinney (an entity which has not yet opened) returned from

vacation and found a letter left with her receptionist. The Return of Service was left blank.

        5.      The FTC also issued a subpoena seeking those documents set forth in Appendix A

of USAP’s Subpoena to Horizon Medical Center to Produce Documents, Information, or Objects




Horizon’s Motion to Quash and Motion for Protection                                      Page 2 of 9
   Case 4:23-cv-03560           Document 175          Filed on 10/08/24 in TXSD    Page 3 of 9




or to Permit Inspection of Premises in a Civil Action. The deadline to comply with the FTC

subpoena is November 4, 2024 at 5:00 p.m.” See attached, FTC’s Subpoena to Produce

Documents, Information, or Objects to Permit Inspection of Premises in a Civil Action (hereinafter

referred to as “FTC Subpoena”), attached hereto as Exhibit B. Horizon subsequently accepted

service of the FTC Subpoena via email.

        6.      Undersigned counsel notified counsel for USAP of the improper service of

subpoena and requested an extension of time to object and respond to the subpoena. Specifically,

undersigned counsel requested an extension of time until November 4, 2024 at 5:00 p.m., the

deadline to respond to the FTC Subpoena. However, USAP agreed only to a two-day extension

to serve written objections and responses to the subpoena. Such a short-time frame is unreasonable

on its face and requires the Subpoena to be quashed by this Court. FED. R. CIV. P. 45(d)(3)(A)(i).

                                               III.   EXHIBITS

        7.      In support of this Horizon’s Motion to Quash, Horizon submits the follow evidence:

        Exhibit A        USAP’s Subpoena to Produce Documents, Information, or Objects to

                         Permit Inspection of Premises in a Civil Action, dated September 9, 2024;

        Exhibit B        FTC’s Subpoena to Produce Documents, Information, or Objects to Permit

                         Inspection of Premises in a Civil Action, dated October 3, 2024; and

        Exhibit C        Email correspondence between Counsel for Horizon and Counsel for

                         USAP.

                                 IV.      ARGUMENTS AND AUTHORITIES

        8.      Upon a motion by a party, the Court may make any order which justice requires to

protect a party from annoyance, embarrassment, oppression or undue burden or expense, including

an order that discovery sought not be had. FED. R. CIV. P. 26(c). Rule 45 of the Federal Rules of




Horizon’s Motion to Quash and Motion for Protection                                       Page 3 of 9
     Case 4:23-cv-03560         Document 175          Filed on 10/08/24 in TXSD     Page 4 of 9




Civil Procedure sets forth several mandatory grounds under which a Court must quash a subpoena

served upon a nonparty to a litigation. Specifically, Rule 45(d)(3)(A) provides that "[o]n timely

motion, the court for the district where compliance is required must quash . . . a subpoena that: (i)

fails to allow a reasonable time to comply; . . . (iii) requires disclosure of privileged or other

protected matter, if no exception or wavier applies; or (iv) subjects a person to undue burden."

FED. R. CIV. P. 45(c)(3)(A) (emphasis added). Furthermore, Rule 45(d)(3)(B) allows a Court to

quash the subpoena if it requires disclosure of confidential information. FED. R. CIV. P.

45(c)(3)(B). Although only one of these grounds must be satisfied before a Court is required and/or

permitted to quash a subpoena, the Subpoena at issue is objectionable on all of these bases, among

others, and must therefore be quashed by the Court.

A.      The USAP Subpoena Fails to Provide a Reasonable Time for Compliance

        9.      As explained above, the Subpoena was improperly served on Horizon on Friday,

October 4, 2024, and required production of numerous categories of documents by October 9,

2024. See USAP Subpoena, attached hereto as Exhibit A at p. 3 (Blank Return of Service).

Although Undersigned Counsel promptly contacted counsel for USAP to come to an agreement

on a reasonable deadline to response, counsel for USAP agreed only to a two-day extension, giving

Horizon a mere five (5) business days to clear conflicts, gather documents responsive to 22

subpoena document requests, and serve objections and responses to same.                  See Email

Correspondence Between Counsel for Horizon and Counsel for USAP, attached hereto as Exhibit

C. Such a short-time frame is not within a reasonable time to comply and should be quashed.

        10.     As the District Court for the Southern District of Texas noted "the Advisory

Committee Notes from the 1970 Amendment clarify that the procedure governing a subpoena

duces tecum is 'analogous to that provided in Rule 34.'" Parra v. State Farm Lloyds, Civil Action




Horizon’s Motion to Quash and Motion for Protection                                        Page 4 of 9
     Case 4:23-cv-03560         Document 175          Filed on 10/08/24 in TXSD    Page 5 of 9




No. 7:14-CV-691, 2015 U.S. Dist. LEXIS 185386, at *3-4 (S.D. Tex. Jan. 13, 2015). Rule

34(b)(2)(A) explicitly states that the party responding to a request for production "must respond in

writing within 30 days after being served." FED. R. CIV. P. 30(b)(2)(A). Thus, the District Court

for the Southern District found that "thirty days is a 'reasonable time' to respond to a subpoena

duces tecum, and [the responding party] should have been given at least thirty days." Parra, 2015

U.S. Dist. LEXIS 185386, at *4.

        11.     Here, the USAP Subpoena interposes an expedited time frame that is not only

unrealistic but in contravention of the provisions of the Federal Rules. Further, the expedited time

frame is clearly not necessary, as Horizon has agreed to comply with the deadline set forth in the

FTC’s subpoena, which was properly served. Further, even if there was a legitimate reason for

the expedited time frame, Horizon, a non-party, should not be subject to an unreasonable time to

comply due to USAP’s lack of diligence in serving the USAP Subpoena . According, because the

Subpoena fails to give the Non-Parties reasonable time to comply with the Subpoena, the Subpoena

must be quashed. FED. R. CIV. P. 45(d)(3)(A)(i).

B.      The USAP Subpoena Seeks Confidential and Privileged Materials

        12.     Horizon further seeks to quash the subpoena because it requires disclosure of

privileged or other protected matter. See FED. R. CIV. P. 45(d)(3)(A)(iii); see, e.g., RE/MAX Int’l,

Inc. v. Century 21 Real Estate Corp., 846 F. Supp 910, 911-912 (D. Colo. 1998). The subpoena

requests all documents related to “evaluating, assessing, or comparing the quality of Anesthesia

Services” Horizon provides. This request is overly broad and includes applications for privileges,

evaluations of physicians, and records maintained by medical committees on credentialing, which

are privileged under the medical-committee privileges. Tex. Health & Safety Code Ann. §




Horizon’s Motion to Quash and Motion for Protection                                       Page 5 of 9
     Case 4:23-cv-03560         Document 175          Filed on 10/08/24 in TXSD   Page 6 of 9




161.032. Garza v. Scott & White Mem. Hosp., 234 F.R.D. 617, 2005 U.S. Dist. LEXIS 42382

(W.D. Tex. 2005).

C.      The Subpoena Subjects the Non-Parties to an Undue Burden

        13.     Finally, Horizon seeks to quash the subpoena because it subjects Horizon, a non-

party, to an undue burden and Defendant did not take reasonable steps to avoid imposing that

undue burden. A Court has broad discretion in determining whether a subpoena is unduly

burdensome. See FED. R. CIV. P. 45(d)(1), (d)(3)(A)(iv); Linder v. Nat’; Sec. Agency, 94 F.3d

693, 695 (D. C. Cir. 1996); In re Subpoena Duces Tecum to AOL, L.L.C., 550 F. Supp 2d 606,

612-613 (E. D. Va. 2008). If a subpoena compels disclosure of information that is not properly

discoverable, then the burden it imposes, however slight, is unnecessarily undue. See AF Holdings,

LLC v. Does 1-1058, 752 F.3d 990, 995 (D.C. Cir. 2014). Courts have found that a subpoena for

documents from a nonparty is facially overbroad where the subpoena’s document requests seek all

documents concerning the parties to the underlying action, regarding of whether those documents

relate to that action and regardless of date; the requests are not particularized; and the period

covered by the requests is unlimited. See Am. Fed’n of Musicians of the United States & Canada

v. Skodam Films, LLC, 313 F.R.D. 39, 44 (N.D. Tex. 2015); Wiwa v. Royal Dutch Petroleum Co.,

392 F.3d 812, 818 (5th Cir. 2004); In re Subpoena Duces Tecum to AOL, LLC, 550 F. Supp 2d at

612. Defendant’s subpoena requests all documents that identify each anesthesia provider that has

provided services at any of Horizon’s facilities since January 1, 2010. This is unduly burdensome

and would create an undue hardship on a non-party to compile such documents that are not relevant

to the underlying action.




Horizon’s Motion to Quash and Motion for Protection                                     Page 6 of 9
   Case 4:23-cv-03560           Document 175          Filed on 10/08/24 in TXSD    Page 7 of 9




                              V.      MOTION FOR PROTECTIVE ORDER

        14.     The Court should issue a protective order because the request for documents in

subpoena is over broad. See, e.g., Washington v. Thurgood Marshall Acad., 230 F.R.D. 18, 24-25

(D.D.C. 2005). A facially overbroad subpoena is unduly burdensome. Courts have found that a

subpoena for documents from a nonparty is facially overbroad where the subpoena’s document

requests seek all documents concerning the parties to the underlying action, regarding of whether

those documents relate to that action and regardless of date; the requests are not particularized;

and the period covered by the requests is unlimited. See Am. Fed’n of Musicians of the United

States & Canada v. Skodam Films, LLC, 313 F.R.D. at 44. 19. For these reasons, Horizon asks the

Court to grant its Motion to Quash and issue an order protecting Horizon from complying with the

deposition by written questions and subpoena duces tecum in its entirety.

        VI.      RESPONSES AND OBJECTIONS TO SPECIFIC REQUESTS FOR PRODUCTION

        Request For Production NO. 2:

        Objection: Horizon objects for the reason that such request is overly broad seeks

        information not likely to produce information relevant to this lawsuit and seeks information

        from confidential. Furthermore, this request in unduly burden, broad in scope and time,

        and Defendant did not take reasonable steps to avoid imposing that undue burden.


        Request For Production NO. 11:

        Objection: The subpoena requests all documents related to “evaluating, assessing, or

        comparing the quality of Anesthesia Services” Horizon provides. This request is overly

        broad and includes applications for privileges, evaluations of physicians, and records

        maintained by medical committees on credentialing, which are privileged under the

        medical-committee privileges. Tex. Health & Safety Code Ann. § 161.032. Garza v. Scott



Horizon’s Motion to Quash and Motion for Protection                                       Page 7 of 9
   Case 4:23-cv-03560           Document 175            Filed on 10/08/24 in TXSD   Page 8 of 9




        & White Mem. Hosp., 234 F.R.D. 617, 2005 U.S. Dist. LEXIS 42382 (W.D. Tex. 2005).

        Such documents are privileged, and no exception exists.

                                          VII.        CONCLUSION

        WHEREFORE, Non-Party Horizon Medical Center respectfully requests that the Court

grant its Motion to Quash Subpoena Issued by Counsel for Defendant US Anesthesia Partners,

enter an order quashing said Subpoena, grant Non-Party Horizon Medical Center protection from

responding to the Subpoena, and grant them such other relief to which they may be justly entitled.

                                                  Respectfully Submitted:

                                                  WILSON ELSER MOSKOWITZ
                                                  EDELMAN & DICKER, L.L.P.

                                          By:     /s/ Carol Y. Kennedy
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                                                  ATTORNEYS FOR NONPARTY,
                                                  HORIZON MEDICAL CENTER



                                CERTIFICATE OF CONFERENCE

On October 4, 2024, via email, I conferred with Defendant’s counsel, Kenneth M. Fetterman,
regarding the bases of our motion to quash and Mr. Fetterman would not agree to an extension on
the deadline to respond to the subpoena. On October 8, 2024, via email, I again attempted to confer
with Mr. Fetterman regarding the bases for our motion and again he would not agree to a to extend
the deadline to respond to the subpoena. A reasonable effort has been made to resolve the discovery
dispute without the necessity of court intervention and the effort failed.

                                                           /s/ Carol Y. Kennedy
                                                           CAROL Y. KENNEDY




Horizon’s Motion to Quash and Motion for Protection                                      Page 8 of 9
   Case 4:23-cv-03560           Document 175          Filed on 10/08/24 in TXSD   Page 9 of 9




                                    CERTIFICATE OF SERVICE

         This is to certify that on October 8, 2024, I electronically served the foregoing document
to all counsel of record in accordance with the Federal Rules of Civil Procedure.

                                                         /s/ Carol Y. Kennedy
                                                         CAROL Y. KENNEDY




Horizon’s Motion to Quash and Motion for Protection                                      Page 9 of 9
